Case 1:20-cv-01053-RGA Document 188 Filed 03/09/22 Page 1 of 2 PageID #: 8088




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


COMMSCOPE TECHNOLOGIES LLC,

              Plaintiff,

       v.
                                                    C.A. No. 20-cv-1053-RGA
ROSENBERGER SITE SOLUTIONS, LLC;
ROSENBERGER ASIA PACIFIC                            JURY TRIAL DEMANDED
ELECTRONIC CO., LTD.; ROSENBERGER
TECHNOLOGIES (KUNSHAN) CO., LTD.;
ROSENBERGER TECHNOLOGIES LLC,

              Defendant.


                                   NOTICE OF SERVICE

       PLEASE TAKE NOTICE, that on March 9, 2022, a copy of Defendants Rosenberger Site

Solutions, LLC, Rosenberger Asia Pacific Electronic Co., Ltd., Rosenberger Technologies

(Kunshan) Co., Ltd., and Rosenberger Technologies LLC’s Objections and Responses to

Plaintiff’s Seventh Set of Requests for Production (Nos. 95-153) and this Notice of Service were

served on the following counsel of record via email by:

                             Kelly E. Farnan (#4395)
                             Valerie A. Caras (#6608)
                             RICHARDS, LAYTON & FINGER, P.A.
                             One Rodney Square
                             920 North King Street
                             Wilmington, DE 19801

                             Philip P. Caspers
                             Derek Vandenburgh
                             Timothy A. Lindquist
                             Dennis C. Bremer
                             Iain A. McIntyre
                             Tara C. Norgard
                             Saukshmya Trichi
                             CARLSON, CASPERS, VANDENBURGH & LINDQUIST, P.A.
                             225 South Sixth Street, Suite 4200

                                               1
Case 1:20-cv-01053-RGA Document 188 Filed 03/09/22 Page 2 of 2 PageID #: 8089




                        Minneapolis, Minnesota 55402

                        Kelly Fermoyle
                        Randall Kahnke
                        Lauren W. Linderman
                        Tyler A. Young
                        FAEGRE DRINKER BIDDLE & REATH LLP
                        2200 Wells Fargo Center
                        90 South Seventh Street
                        Minneapolis, MN 55402

                        Harmony Mappes
                        FAEGRE DRINKER BIDDLE & REATH LLP
                        300 North Meridian Street, Suite 2500
                        Indianapolis, IN 46204




 OF COUNSEL:                                BAYARD, P.A.

 Mark S. Raskin                              /s/ Ronald P. Golden III
 Robert A. Whitman                          Stephen B. Brauerman (#4952)
 Michael DeVincenzo                         Ronald P. Golden III (#6254)
 Charles Wizenfeld                          600 N. King Street, Suite 400
 Andrea Pacelli                             Wilmington, DE 19801
 Elizabeth Long                             Telephone: (302) 655-5000
 John Petrsoric                             sbrauerman@bayardlaw.com
 KING & WOOD MALLESONS LLP                  rgolden@bayardlaw.com
 500 5th Avenue, 50th Floor
 New York, New York 10110                   Attorneys for Defendants
 (212) 319-4755
 mark.raskin@us.kwm.com
 robert.whitman@us.kwm.com
 michael.devincenzo@us.kwm.com
 charles.wizenfeld@us.kwm.com
 john.petrsoric@us.kwm.com
 andrea.pacelli@us.kwm.com
 elizabeth.long@us.kwm.com

 Dated: March 9, 2022




                                        2
